        Case 2:13-cv-20000-RDP Document 2727 Filed 05/21/21 Page 1 of 9                                  FILED
                                                                                                2021 May-21 PM 08:54
                                                                                                U.S. DISTRICT COURT
                                                                                                    N.D. OF ALABAMA


                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION


   IN RE: BLUE CROSS BLUE SHIELD                  Master File No. 2:13-CV-20000-RDP
       ANTITRUST LITIGATION
            (MDL No. 2406)                        This document relates to Provider-Track
                                                  cases.

DEFENDANTS’ MOTION REGARDING THE ANTITRUST STANDARD OF REVIEW
 APPLICABLE TO PROVIDER PLAINTIFFS’ SECTION 1 CLAIMS PURSUANT TO
               FEDERAL RULE OF CIVIL PROCEDURE 56


               Defendants hereby move, pursuant to Federal Rule of Civil Procedure 56, for an

order granting summary judgment for Defendants on Provider Plaintiffs’ per se Claims arising

under Section 1 of the Sherman Act. For the reasons set forth in Defendants’ accompanying

Opening Brief on the Antitrust Standard of Review Applicable to Provider Plaintiffs’ Section 1

Claims, Defendants respectfully request that the Court grant their Motion in its entirety and

analyze Provider Plaintiffs’ Section 1 claims under the rule of reason.
      Case 2:13-cv-20000-RDP Document 2727 Filed 05/21/21 Page 2 of 9




Dated: May 21, 2021                       Respectfully submitted,

                                          /s/ Evan R. Chesler
                                          Evan R. Chesler
                                          Christine A. Varney
                                          Karin A. DeMasi
                                          Lauren R. Kennedy
                                          David H. Korn
                                          CRAVATH, SWAINE & MOORE LLP
                                          Worldwide Plaza
                                          825 Eighth Avenue
                                          New York, NY 10019
                                          Tel: (212) 474-1000
                                          Fax: (212) 474-3700
                                          echesler@cravath.com
                                          cvarney@cravath.com
                                          kdemasi@cravath.com
                                          lkennedy@cravath.com
                                          dkorn@cravath.com

                                          Coordinating Counsel for Defendant
                                          Blue Cross and Blue Shield Association;
                                          Counsel for Defendants Blue Cross and
                                          Blue Shield of Alabama; Blue Cross and
                                          Blue Shield of Florida, Inc.; Blue Cross
                                          and Blue Shield of Massachusetts, Inc.;
                                          BlueCross BlueShield of Tennessee,
                                          Inc.; CareFirst, Inc.; CareFirst of
                                          Maryland, Inc.; Group Hospitalization
                                          and Medical Services, Inc.; CareFirst
                                          BlueChoice, Inc.; Health Care Service
                                          Corporation, an Illinois Mutual Legal
                                          Reserve Company, including its
                                          divisions Blue Cross and Blue Shield of
                                          Illinois, Blue Cross and Blue Shield of
                                          Texas, Blue Cross and Blue Shield of
                                          New Mexico, Blue Cross and Blue
                                          Shield of Oklahoma, and Blue Cross and
                                          Blue Shield of Montana; Caring for
                                          Montanans, Inc., f/k/a Blue Cross and
                                          Blue Shield of Montana, Inc.
      Case 2:13-cv-20000-RDP Document 2727 Filed 05/21/21 Page 3 of 9




Craig A. Hoover                                  David J. Zott, P.C.
E. Desmond Hogan                                 Daniel E. Laytin, P.C.
Justin Bernick                                   Sarah J. Donnell
Peter Bisio                                      Christa C. Cottrell, P.C.
Elizabeth Jose                                   Zachary Holmstead
HOGAN LOVELLS US LLP                             KIRKLAND & ELLIS LLP
Columbia Square                                  300 North LaSalle
555 13th Street, N.W.                            Chicago, IL 60654
Washington, DC 20004                             Tel: (312) 862-2000
Tel: (202) 637-5600                              Fax: (312) 862-2200
Fax: (202) 637-5910                              david.zott@kirkland.com
craig.hoover@hoganlovells.com                    daniel.laytin@kirkland.com
desmond.hogan@hoganlovells.com                   sarah.donnell@kirkland.com
justin.bernick@hoganlovells.com                  christa.cottrell@kirkland.com
peter.bisio@hoganlovells.com                     zachary.holmstead@kirkland.com
elizabeth.jose@hoganlovells.com
                                                 Kimberly R. West (Liaison Counsel)
John D. Martin                                   Mark M. Hogewood
Lucile H. Cohen                                  WALLACE, JORDAN, RATLIFF &
Travis A. Bustamante                             BRANDT, LLC
NELSON MULLINS RILEY &                           First Commercial Bank Building
SCARBOROUGH LLP                                  800 Shades Creek Parkway, Suite 400
1320 Main Street, 17th Floor                     Birmingham, AL 35209
Columbia, SC 29201                               Tel: (205) 870-0555
Tel: (803) 255-9421                              Fax: (205) 871-7534
Fax: (803) 256-7500                              kwest@wallacejordan.com
john.martin@nelsonmullins.com                    mhogewood@wallacejordan.com
lucie.cohen@nelsonmullins.com
travis.bustamante@nelsonmullins.com              Counsel for Blue Cross Blue Shield
                                                 Association
Cavender C. Kimble
BALCH & BINGHAM LLP
1901 6th Avenue North, Suite 1500                  James L. Priester
Birmingham, AL 35203-4642                          Carl S. Burkhalter
Tel: (205) 226-3437                                John Thomas A. Malatesta, III
Fax: (205) 488-5860                                MAYNARD COOPER & GALE PC
ckimble@balch.com                                  1901 6th Avenue North, Suite 2400
                                                   Regions Harbert Plaza
Counsel for Anthem, Inc., f/k/a WellPoint, Inc.,   Birmingham, AL 35203
and all of its named subsidiaries in this          Tel: (205) 254-1000
consolidated action; Blue Cross and Blue Shield of Fax: (205) 254-1999
North Carolina, Inc.; Louisiana Health Service & jpriester@maynardcooper.com
Indemnity Company (Blue Cross and Blue Shield      cburkhalter@maynardcooper.com
of Louisiana); BCBSM, Inc. (Blue Cross and Blue jmalatesta@maynardcooper.com
Shield of Minnesota); Blue Cross and Blue Shield
of South Carolina; Horizon Healthcare Services,    Pamela B. Slate
      Case 2:13-cv-20000-RDP Document 2727 Filed 05/21/21 Page 4 of 9




Inc. (Horizon Blue Cross and Blue Shield of New   HILL CARTER FRANCO COLE &
Jersey); Blue Cross & Blue Shield of Rhode        BLACK, P.C.
Island; Blue Cross and Blue Shield of Vermont;    425 South Perry Street
Cambia Health Solutions, Inc.; Regence Blue       Montgomery, AL 36104
Shield of Idaho; Regence Blue Cross Blue Shield   Tel: (334) 834-7600
of Utah; Regence Blue Shield (of Washington);     Fax: (334) 386-4381
Regence Blue Cross Blue Shield of Oregon          pslate@hillhillcarter.com

                                                  With Cravath, Swaine & Moore LLP,
Gwendolyn Payton                                  counsel for Defendant Blue Cross Blue
KILPATRICK TOWNSEND & STOCKTON LLP                Shield of Alabama
1420 Fifth Avenue, Suite 3700
Seattle, WA 98101
Tel: (206) 626-7714                               Helen E. Witt, P.C.
Fax: (206) 299-0414                               Jeffrey J. Zeiger, P.C.
gpayton@kilpatricktownsend.com                    Erica B. Zolner
                                                  KIRKLAND & ELLIS LLP
J. Bentley Owens, III                             300 North LaSalle
ELLIS, HEAD, OWENS & JUSTICE                      Chicago, IL 60654
113 North Main Street                             Tel: (312) 862-2000
Columbiana, AL 35051-0587                         Fax: (312) 862-2200
Tel: (205) 669-6783                               hwitt@kirkland.com
Fax: (205) 669-4932                               jzeiger@kirkland.com
bowens@wefhlaw.com                                ezolner@kirkland.com

Counsel for Defendants Premera Blue Cross,        Kimberly R. West (Liaison Counsel)
d/b/a Premera Blue Cross Blue Shield of Alaska    Mark M. Hogewood
                                                  WALLACE, JORDAN, RATLIFF &
                                                  BRANDT, LLC
Brian K. Norman                                   First Commercial Bank Building
SHAMOUN & NORMAN, LLP                             800 Shades Creek Parkway, Suite 400
1800 Valley View Lane, Suite 200                  Birmingham, AL 35209
Farmers Branch, TX 75234                          Tel: (205) 870-0555
Tel: (214) 987-1745                               Fax: (205) 871-7534
Fax: (214) 521-9033                               kwest@wallacejordan.com
bkn@snlegal.com                                   mhogewood@wallacejordan.com

H. James Koch                                     Counsel for Defendants Health Care
ARMBRECHT JACKSON LLP                             Service Corporation, an Illinois Mutual
RSA Tower, 27th Floor                             Legal Reserve Company, including its
11 North Water Street                             divisions Blue Cross and Blue Shield of
Mobile, AL 36602                                  Illinois, Blue Cross and Blue Shield of
Tel: (251) 405-1300                               Texas, Blue Cross and Blue Shield of
Fax: (251) 432-6843                               New Mexico, Blue Cross and Blue
hjk@ajlaw.com                                     Shield of Oklahoma, and Blue Cross and
                                                  Blue Shield of Montana; Caring for
       Case 2:13-cv-20000-RDP Document 2727 Filed 05/21/21 Page 5 of 9




Counsel for Defendants CareFirst, Inc.; CareFirst    Montanans, Inc., f/k/a Blue Cross and
of Maryland, Inc.; Group Hospitalization and         Blue Shield of Montana, Inc.; Highmark
Medical Services, Inc.; CareFirst BlueChoice, Inc.   Inc., f/k/a Highmark Health Services;
                                                     Highmark West Virginia Inc.; Highmark
                                                     Blue Cross Blue Shield Delaware Inc.;
R. David Kaufman                                     California Physicians’ Service d/b/a
M. Patrick McDowell                                  Blue Shield of California
BRUNINI, GRANTHAM, GROWER
& HEWES, PLLC
190 East Capitol Street                              Jonathan M. Redgrave
The Pinnacle Building, Suite 100                     REDGRAVE, LLP
Jackson, MS 39201                                    14555 Avion Parkway, Suite 275
Tel: (601) 948-3101                                  Chantilly, VA 20151
Fax: (601) 960-6902                                  Tel: (703) 592-1155
dkaufman@brunini.com                                 Fax: (612) 332-8915
pmcdowell@brunini.com                                jredgrave@redgravellp.com

John D. Martin                                       Additional Counsel for HCSC and
Lucile H. Cohen                                      Highmark Defendants
Travis A. Bustamante
NELSON MULLINS RILEY &
SCARBOROUGH LLP                                      Todd Stenerson
1320 Main Street, 17th Floor                         SHEARMAN & STERLING LLP
Columbia, SC 29201                                   401 9th Street, N.W., Suite 800
Tel: (803) 255-9421                                  Washington, DC 20004
Fax: (803) 256-7500                                  Tel: (202) 508-8000
john.martin@nelsonmullins.com                        Fax: (202) 508-8100
lucie.cohen@nelsonmullins.com                        todd.stenerson@shearman.com
travis.bustamante@nelsonmullins.com
                                                     Sarah L. Cylkowski
Cheri D. Green                                       Thomas J. Rheaume, Jr.
BLUE CROSS BLUE SHIELD OF MISSISSIPPI                BODMAN PLC
P.O. Box 1043                                        1901 Saint Antoine Street
Jackson, MS 39215                                    6th Floor at Ford Field
Tel: (601) 932-3704                                  Detroit, MI 48226
cdgreen@bcbsms.com                                   Tel: (313) 259-7777
                                                     Fax: (734) 930-2494
Counsel for Defendant Blue Cross Blue Shield of      scylkowski@bodmanlaw.com
Mississippi, a Mutual Insurance Company              trheaume@bodmanlaw.com

                                                     Andy P. Campbell
Michael A. Naranjo                                   A. Todd Campbell
FOLEY & LARDNER LLP                                  Yawanna N. McDonald
555 California Street, Suite 1700                    CAMPBELL PARTNERS LLC
San Francisco, CA 94104                              505 North 20th Street, Suite 1600
Tel: (415) 984-9847                                  Birmingham, AL 35203
      Case 2:13-cv-20000-RDP Document 2727 Filed 05/21/21 Page 6 of 9




Fax: (415) 434-4507                             Tel: (205) 224-0750
mnaranjo@foley.com                              Fax: (205) 224-8622
                                                andy@campbellpartnerslaw.com
Alan D. Rutenberg                               todd@campbellpartnerslaw.com
Benjamin R. Dryden                              yawanna@campbellpartnerslaw.com
FOLEY & LARDNER LLP
3000 K Street, N.W., Suite 600                  Counsel for Defendant Blue Cross and
Washington, DC 20007                            Blue Shield of Michigan
Tel: (202) 672-5300
Fax: (202) 672-5399
arutenberg@foley.com                            John Briggs
bdryden@foley.com                               Rachel Adcox
                                                Jeny M. Maier
Counsel for Defendant USAble Mutual Insurance   AXINN, VELTROP & HARKRIDER,
Company, d/b/a Arkansas Blue Cross and          LLP
Blue Shield                                     1901 L Street, N.W.
                                                Washington, DC 20036
                                                Tel: (202) 912-4700
Robert K. Spotswood                             Fax: (202) 912-4701
Michael T. Sansbury                             jbriggs@axinn.com
Joshua K. Payne                                 radcox@axinn.com
Jess R. Nix                                     jmaier@axinn.com
Morgan B. Franz
SPOTSWOOD SANSOM & SANSBURY LLC                 Stephen A. Rowe
Financial Center                                Aaron G. McLeod
505 20th Street North, Suite 700                ADAMS AND REESE LLP
Birmingham, AL 35203                            Regions Harbert Plaza
Tel: (205) 986-3620                             1901 6th Avenue North, Suite 3000
Fax: (205) 986-3639                             Birmingham, AL 35203
rks@spotswoodllc.com                            Tel: (205) 250-5000
msansbury@spotswoodllc.com                      Fax: (205) 250-5034
jpayne@spotswoodllc.com                         steve.rowe@arlaw.com
jnix@spotswoodllc.com                           aaron.mcleod@arlaw.com
mfranz@spotswoodllc.com
                                                Counsel for Defendant Independence
Counsel for Defendant Capital BlueCross         Blue Cross


Evan R. Chesler                                 Kathleen Taylor Sooy
Christine A. Varney                             Tracy A. Roman
Karin A. DeMasi                                 Sarah Gilbert
Lauren R. Kennedy                               Honor Costello
David H. Korn                                   CROWELL & MORING LLP
CRAVATH, SWAINE & MOORE LLP                     1001 Pennsylvania Avenue, N.W.
Worldwide Plaza                                 Washington, DC 20004
825 Eighth Avenue                               Tel: (202) 624-2500
       Case 2:13-cv-20000-RDP Document 2727 Filed 05/21/21 Page 7 of 9




New York, NY 10019                                    Fax: (202) 628-5116
Tel: (212) 474-1000                                   ksooy@crowell.com
Fax: (212) 474-3700                                   troman@crowell.com
echesler@cravath.com                                  sgilbert@crowell.com
cvarney@cravath.com                                   hcostello@crowell.com
kdemasi@cravath.com
lkennedy@cravath.com                                  John M. Johnson
dkorn@cravath.com                                     Brian P. Kappel
                                                      LIGHTFOOT FRANKLIN & WHITE
John D. Martin                                        LLC
Lucile H. Cohen                                       The Clark Building
Travis A. Bustamante                                  400 20th Street North
NELSON MULLINS RILEY &                                Birmingham, AL 35203
SCARBOROUGH LLP                                       Tel: (205) 581-0700
1320 Main Street, 17th Floor                          Fax: (205) 581-0799
Columbia, SC 29201                                    jjohnson@lightfootlaw.com
Tel: (803) 255-9421                                   bkappel@lightfootlaw.com
Fax: (803) 256-7500
john.martin@nelsonmullins.com                         Counsel for Defendants Blue Cross of
lucie.cohen@nelsonmullins.com                         Idaho Health Service, Inc.; Blue Cross
travis.bustamante@nelsonmullins.com                   and Blue Shield of Kansas, Inc.; Blue
                                                      Cross and Blue Shield of Kansas City;
Robert R. Riley, Jr.                                  Blue Cross and Blue Shield of
RILEY & JACKSON, P.C.                                 Nebraska; Blue Cross Blue Shield of
3530 Independence Drive                               Arizona; Blue Cross Blue Shield of
Birmingham, AL 35209                                  North Dakota; Blue Cross Blue Shield
Tel: (205) 879-5000                                   of Wyoming; Highmark Western and
Fax: (205) 879-5901                                   Northeastern New York Inc.
rob@rileyjacksonlaw.com

Counsel for Defendants Blue Cross and Blue            David J. Zott, P.C.
Shield of Florida, Inc.; Blue Cross and Blue Shield   Daniel E. Laytin, P.C.
of Massachusetts, Inc.; BlueCross BlueShield          KIRKLAND & ELLIS LLP
of Tennessee, Inc.                                    300 North LaSalle
                                                      Chicago, IL 60654
                                                      Tel: (312) 862-2000
Edward S. Bloomberg                                   Fax: (312) 862-2200
John G. Schmidt                                       david.zott@kirkland.com
Anna Mercado Clark                                    daniel.laytin@kirkland.com
PHILLIPS LYTLE LLP
One Canalside                                         John Martin
125 Main Street                                       Lucile H. Cohen
Buffalo, NY 14203                                     Travis A. Bustamante
Tel: (716) 847-8400                                   NELSON MULLINS RILEY &
Fax: (716) 852-6100                                   SCARBOROUGH LLP
ebloomberg@phillipslytle.com                          1320 Main Street, 17th Floor
      Case 2:13-cv-20000-RDP Document 2727 Filed 05/21/21 Page 8 of 9




jschmidt@phillipslytle.com                         Columbia, SC 29201
aclark@phillipslytle.com                           Tel: (803) 255-9421
                                                   Fax: (803) 256-7500
Stephen A. Walsh                                   john.martin@nelsonmullins.com
WEINBERG, WHEELER, HUDGINS,                        lucie.cohen@nelsonmullins.com
GUNN & DIAL                                        travis.bustamante@nelsonmullins.com
100 Corporate Parkway
One Lake Level                                     Counsel for Defendants Wellmark of
Birmingham, AL 35242                               South Dakota, Inc. (Wellmark Blue
Tel: (205) 572-4107                                Cross and Blue Shield of South Dakota);
Fax: (205) 572-4199                                Wellmark, Inc. (Wellmark Blue Cross
swalsh@wwhgd.com                                   and Blue Shield of Iowa); Hawaii
                                                   Medical Service Association (Blue
Counsel for Defendant, Excellus Health Plan, Inc., Cross and Blue Shield of Hawaii);
d/b/a Excellus BlueCross BlueShield, incorrectly   Triple-S Salud, Inc.
sued as Excellus BlueCross BlueShield of
New York
                                                   Kimberly R. West (Liaison Counsel)
                                                   Mark M. Hogewood
                                                   WALLACE, JORDAN, RATLIFF &
                                                   BRANDT, LLC
                                                   First Commercial Bank Building
                                                   800 Shades Creek Parkway, Suite 400
                                                   Birmingham, AL 35209
                                                   Tel: (205) 870-0555
                                                   Fax: (205) 871-7534
                                                   kwest@wallacejordan.com
                                                   mhogewood@wallacejordan.com

                                                   Counsel for Defendants Wellmark of
                                                   South Dakota, Inc. (Wellmark Blue
                                                   Cross and Blue Shield of South Dakota);
                                                   Wellmark, Inc. (Wellmark Blue Cross
                                                   and Blue Shield of Iowa); Hawaii
                                                   Medical Service Association (Blue
                                                   Cross and Blue Shield of Hawaii)
        Case 2:13-cv-20000-RDP Document 2727 Filed 05/21/21 Page 9 of 9




                                CERTIFICATE OF SERVICE

               I hereby certify that on May 21, 2021, the foregoing was electronically filed with

the Clerk of Court using the CM/ECF system, which will send notification of such filing to all

counsel of record.

                                                           /s/ Evan R. Chesler
                                                           Evan R. Chesler
